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    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 21-2219V
                                          UNPUBLISHED


    STEVEN BEACHY,                                              Chief Special Master Corcoran

                         Petitioner,                            Filed: February 22, 2023
    v.
                                                                Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                     Damages Decision Based on Proffer;
    HUMAN SERVICES,                                             Influenza (Flu) Vaccine; Guillain-
                                                                Barre Syndrome (GBS)
                         Respondent.


Leah VaSahnja Durant, Law Offices of Leah V. Durant, PLLC, Washington, DC, for
Petitioner.

Terrence Kevin Mangan, Jr., U.S. Department of Justice, Washington, DC, for
Respondent.

                                 DECISION AWARDING DAMAGES1

       On November 29, 2021, Steven Beachy filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that he received an influenza (“flu”) vaccination on
January 20, 2020, and thereafter suffered from Guillain-Barré syndrome (“GBS”). Petition
at 1. The case was assigned to the Special Processing Unit of the Office of Special
Masters.

        On September 15, 2022, a ruling on entitlement was issued, finding Petitioner
entitled to compensation for GBS. On February 22, 2023, Respondent filed a proffer on
award of compensation (“Proffer”) indicating Petitioner should be awarded a total of
$140,000.00 for all damages. Proffer at 1. In the Proffer, Respondent represented that
1
   Because this unpublished Decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the Decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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Petitioner agrees with the proffered award. Id. Based on the record as a whole, I find that
Petitioner is entitled to an award as stated in the Proffer.

       Pursuant to the terms stated in the attached Proffer, I award Petitioner a lump
sum payment of $140,000.00, in the form of a check payable to Petitioner. This
amount represents compensation for all damages that would be available under Section
15(a).

       The Clerk of Court is directed to enter judgment in accordance with this decision.3

       IT IS SO ORDERED.

                                                                 s/Brian H. Corcoran
                                                                 Brian H. Corcoran
                                                                 Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.


                                                    2
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                IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                          OFFICE OF SPECIAL MASTERS


STEVEN BEACHY,

               Petitioner,                             No. 21-2219V
                                                       Chief Special Master Corcoran
v.                                                     ECF

SECRETARY OF HEALTH AND
HUMAN SERVICES,

               Respondent.


                      PROFFER ON AWARD OF COMPENSATION 1

I.     Procedural History

       On November 29, 2021, Steven Beachy (“petitioner”) filed a petition for compensation

(“petition”) under the National Childhood Vaccine Injury Act of 1986, 42 U.S.C. §§ 300aa-1 to

-34, as amended. He alleges that, as a result of receiving the influenza (“flu”) vaccine on

January 20, 2020, he suffered Guillain-Barre Syndrome (“GBS”). See Petition. On September

14, 2022, respondent filed his Vaccine Rule 4(c) report conceding this GBS Table case. On

September 15, 2022, Chief Special Master Corcoran issued a ruling on entitlement, finding that

petitioner was entitled to compensation for a GBS Table injury.

II.    Items of Compensation

       Based upon the evidence of record, respondent proffers that petitioner should be awarded

a lump sum of $140,000.00, for all damages. This amount represents all elements of

compensation to which petitioner is entitled under 42 U.S.C. § 300aa-15(a). Petitioner agrees.




1
  This Proffer does not include attorneys’ fees and costs, which the parties intend to address after
the Damages Decision is issued.
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III.   Form of the Award

       Respondent recommends that the compensation provided to petitioner should be made

through a lump sum payment, as described below, and requests that the Chief Special Master’s

decision and the Court’s judgment award the following: A lump sum payment of $140,000.00, in

the form of a check payable to petitioner. 2 Petitioner agrees.

                                              Respectfully submitted,

                                              BRIAN M. BOYNTON
                                              Principal Deputy Assistant Attorney General

                                              C. SALVATORE D’ALESSIO
                                              Director
                                              Torts Branch, Civil Division

                                              HEATHER L. PEARLMAN
                                              Deputy Director
                                              Torts Branch, Civil Division

                                              LARA A. ENGLUND
                                              Assistant Director
                                              Torts Branch, Civil Division

                                              /s/ Terrence K. Mangan, Jr.__
                                              TERRENCE K. MANGAN, JR.
                                              Trial Attorney
                                              Torts Branch, Civil Division
                                              U.S. Department of Justice
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                                              Benjamin Franklin Station
                                              Washington, D.C. 20044-0146
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                                              Email: terrence.mangan@usdoj.gov

Dated: February 22, 2023




2
  Should petitioner die prior to entry of judgment, respondent would oppose any award for
future medical expenses, future lost earnings, and future pain and suffering, and the parties
reserve the right to move the Court for appropriate relief.


                                                 2
